                                            Case 1:16-cv-09918-ER Document 35 Filed 10/26/18 Page 1 of 1



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A L A N       M .    F R I E D M A N                                                                                                                          _______
J E A N N E - M A R I E                W I L L I A M S
T H O M A S         V A N D E N A B E E L E                 ◊                                                                            C O U N S E L
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                                                                                 October 25, 2018

          By ECF
          Hon. Edgardo Ramos
          United States District Court Judge
          United States Courthouse
          40 Foley Square. Courtroom 619.                                                                                                           10/26/2018
          New York, New York, 10007


                          Stardust Monte-Carlo, S.A.R.L. v. Diamond Quasar Jewelry, Inc. 16 Civ. 9918 (ER)

                                  Dear Judge Ramos:

                 We represent plaintiff in the above-captioned action. We write with the consent of
          Counsel for defendant. The parties signed a Settlement and Release Agreement (“the
          Settlement”) on October 19, 2018. Pursuant to the Court’s Order dated September 28, 2018
          (DE#33), the parties request that the Court retain jurisdiction in this matter for purposes of
          enforcing the Settlement, and that the above-entitled action be reopened for that sole
          purpose.

                 The parties also respectfully request that they be permitted to submit the Settlement
          to the Court by e-mail, and that the Court “so order” the settlement under seal.


                                                                                               Respectfully submitted,



                                                                                               Thomas Vandenabeele

                    Plaintiff is granted leave to submit the settlement agreement by e-mail.
                    SO ORDERED.



                                              10/26/2018
